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                     11

                     12                           UNITED STATES DISTRICT COURT
                                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
                     13                          SAN FRANCISCO / OAKLAND DIVISION

                     14

                     15                                                Case No.:
                           BRENDAN JOHN RICHARDS, THE
                     16    CALGUNS FOUNDATION, INC.,
                           and THE SECOND AMENDMENT                    NOTICE OF RELATED CASE
                     17    FOUNDATION, INC.,
                                                                       Local Rule 3-12
                     18
                                   Plaintiffs,
                     19
                                                 vs.
                     20
                           KAMALA HARRIS, Attorney General
                     21
                           of California (in her official capacity),
                     22    CALIFORNIA DEPARTMENT OF
                           JUSTICE, CITY OF ROHNERT
                     23    PARK, OFFICER DEAN BECKER
                           (RP134) and DOES 1 TO 20,
                     24

                     25            Defendants.

                     26

                     27           Pursuant to Northern District Civil Rule 3-12, Plaintiffs hereby give notice
  Donald Kilmer
  Attorney at Law    28 that they are aware of an earlier case with the following factors in common:
  1645 Willow St.
     Suite 150
San Jose, CA 95125
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 Fx: 408/264-8487         Notice: Related Case                   Page 1 of 2                        Richards v Harris
                               Case 3:11-cv-02493-SI Document 2 Filed 05/20/11 Page 2 of 2



                      1 1.        The prior case shares the common Plaintiffs: Calguns Foundation, Inc., and

                      2           Second Amendment Foundation, Inc.

                      3 2.        The prior case shares the common Defendants: Kamala Harris, Attorney

                      4           General and the California Department of Justice.

                      5 3.        The prior case shares legal theories, that if the Plaintiffs are correct, would

                      6           require the same prospective injunctive relief against the common

                      7           Defendants.

                      8 4.        The prior case and this one will require to the Court analyze California’s

                      9           Assault Weapons Statutes and Regulations.

                     10           The prior case is Haynie v. Harris; Case No.: 10-CV-1255-SI. The Case is

                     11 currently pending before the Honorable Susan Illston in the San Francisco Division

                     12 of the United States District Court for the Northern District. That case has a

                     13 dispostive motion set to be heard on June 10, 2011 at 9:00 a.m. in Courtroom 10.

                     14           As soon as this case is docketed, Plaintiffs’ Counsel will file the required

                     15 “Administrative Motion to Consider Whether Case Should be Related” pursuant to

                     16 Local Rules 3-12 and 7-11 in the earlier case.

                     17 Dated: May 19, 2011,

                     18
                               /s/                                                /s/
                     19 Donald Kilmer, Jr. [SBN: 179986]                  Jason A. Davis [SBN: 224250]
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